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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              ) 8:08CR264
                                               )
                       vs.                     ) ORDER FOR DISMISSAL
                                               )
JUANA TAPIA-BORGAS,                            )
                                               )
                       Defendant.              )


       Pursuant to Motion of the United States (Filing No. 48), pursuant to Federal Rule of

Criminal Procedure 48(a), leave of court is granted for the filing of the dismissal of the

Indictment against Juana Tapia-Borgas only.

       IT IS ORDERED that the Motion to Dismiss the Indictment (Filing No. 48) is granted.

       DATED this 19th day of November, 2008.

                                               BY THE COURT:


                                               s/ Joseph F. Bataillon
                                               Chief District Court Judge
